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                            IN THE UNITED STATES DISTRICT COURT

         FOR THE WESTERN DISTRICT OF MICHIGAN – SOUTHERN DIVISION



THE UNITED STATES OF AMERICA,                                       Case No 1:20-CR-183-RJJ

               Plaintiff,                                           Hon. Robert J. Jonker
                                                                    Chief District Court Judge

V

ADAM FOX et al.

               Defendant.



                               DEFENDANT ADAM DEAN FOX’S
                                      TRIAL BRIEF



       NOW COMES Defendant Adam Dean Fox, by and through Counsel, Christopher M.

Gibbons of the Law Offices of Gibbons & Boer, and for his Trial Brief submitted to Court for its

consideration in this matter prior to the trial presently scheduled to commence before the Court on

March 8, 2022, states as follows:

       Adam Fox is charged with conspiracy to kidnap the sitting Governor of Michigan,

Gretchen Whitmer, in violation of 18 United States Code 1201(a). In addition, Adam Fox, is

charged with conspiracy to obtain a weapon of mass destruction in violation of 18 United States

Code 2332(a)(2)(A) and (C) in furtherance of that kidnapping plot. The evidence against Adam

Fox consists of recordings of meetings, recordings of conversations during car travel, recordings

of telephone conversations, social media posts, direct messages (both encrypted and un-

encrypted), surveillance videos, and photographs.



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                                              FACTS

       For many years 38-year-old Adam Fox had freely expressed his political views on various

social media platforms, particularly Facebook. Fox identified with the “Boogaloo” movement,

which is more of a collection of economic and social ideas than it is an actual organized group.

The ideas include the importance of the constitutional right to bear arms The core values expressed

by many “Boogaloo” or “III%” groups are not xenophobic or exclusionary based on gender. They

do not exclude anyone based on sexual identity, sexual preference or religious affiliation. They

are not racist. They do not advocate for the pro-active use of force or violence. On April 30th, Fox

was one of many protesters who were lawfully admitted to Michigan capitol building in Lansing

and who were photographed in the building. Fox was wearing a Hawaiian floral shirt, which is a

“Boogaloo” trademark. He was also open carrying a military style rifle.

       In May of 2020, Fox was invited to a meeting in Dublin, Ohio that was scheduled for the

weekend of June 6, 2020. The meeting was organized and paid for by CHS Robeson. Robeson had

never met Fox, but he paid for his hotel room to attend the meeting. Robeson secretly recorded the

meeting for the FBI. During the recorded meeting Fox stated that the militia was misunderstood,

and steps should be taken to address the negative perception that they are violent, destructive,

“domestic terrorists.”

       On June 14, 2020, Fox received a telephone call from CHS Dan. Dan was an Iraqi combat

veteran and the XO of the Wolverine Watchmen, a newly formed group started in November of

2019 by Joe Morrison. On the telephone call Fox stated his belief that the negative image of the

Militia needed to be a priority, it was associated with white male racists, so the Militia needed to

diversify and be inclusive. During the conversation, which lasted nearly an hour, Fox spoke of

seeking legal charges or a citizen’s arrest of the Governor, for exceeding the lawful authority of



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her office. He discussed that storming the capital to achieve a political statement was unrealistic

and not possible. CHS Dan added “Meanwhile she’s heading up North to her second house and

shit. Getting her boat out and shit, meanwhile we are just down here scraping.” CHS Dan was

working for the FBI, made this phone call in the presence of Special Agents of the FBI, and the

call was recorded.

       On June 21, 2020, CHS Robeson sent Adam Fox a message on Facebook telling him that

he was making him the Commanding Officer of the Michigan Chapter of the Patriot III% United

States. He advised Adam Fox that he could select his own X.O. and recruit members. CHS

Robeson and another informant, CHS Jenny, generated the Facebook page and wrote the “mission

statement” for the Michigan 3% Patriot Milita page.

       On June 22, 2020, Fox was contacted on Facebook Messenger by “Mark” from the upper

peninsula, he was looking to “get more involved”. He said his girlfriend Elise knew Fox’s

girlfriend. Mark, a rugged individualist, is an Agent of the FBI. On July 3, 2020, Mark came to

the Vac Shack in Grand Rapids to meet Adam Fox. Fox told Mark many of his ideas that day,

including that he was working on a legal idea, a citizen’s arrest of the Governor. Mark was wired

and the entire meeting was recorded. Mark from that point forward, was a fixture at nearly every

event or training the FIB created for in Adam Fox’s and his Michigan III% Patriot Militia.

       On July 11-12 the group met again in Cambria, Wisconsin, CHS Robeson hosted the event,

which was attended by CHS Dan, UCE Mark, and CHS Jenny and three other informants. Federal

Special Agent Heinrich Impola from Detroit, Special Agent Corey Baumgartner from Wisconsin,

Special Agent Kristopher Long from Baltimore were all also present in Cambria Wisconsin. Fox

paid $49 for his hotel room. He received a discount rate due to his relationship with the President

of the National 3% Patriot Milia, CHS Robeson, who arranged for the room.



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        Also in July, Robeson announced a “founding fathers call to action meeting” in Peebles,

Ohio. On July 18, 2020, the “call to action meeting” was held, of the twenty-one individuals in

attendance, at least five were actively cooperating with the FBI. This event was also recorded, by

more than one informant. The discussions were dramatic, with CHS Robeson lamenting that the

group was “out of time.” CHS Dan and CHS Robeson implore the group to “set a direction.” CHS

Dan stated emphatically “we have to leave here with a direction.” At the meeting Adam Fox stated

that there are five sheriffs in Michigan that have spoken out against Governor Whitmer’s

restrictions and that he had left messages with all of them.

        On July 27, 2020, CHS Dan came to the Vac Shack and sat with Fox for hours. They had

dinner at the restaurant next door to the Vac Shack then returned to the store basement where

Adam was living. Fox was smoking marijuana throughout the entirety of the meeting 1. CHS Dan

would directly pressure Fox regardless of his condition. CHS Dan raised the idea of taking action

against the Governor, including a “snatch and grab”. Fox stated that he had been “thinking about

it” (as though it had been raised or discussed prior to that day) and that even if they did not hurt

anybody, taking that kind of action would “devastate that community”. Fox reiterates that again

later in the same meeting. The morning following the meeting Adam sent CHS Dan the Wire

message “you feel like we have a little direction now?”

        Adam Fox, the evidence will show, make many inflammatory remarks about Governor

Whitmer, the need to address what he believed was unconstitutional governmental action, the

pandemic, and related social issues. But evidence will demonstrate that also Adam Fox repeatedly

expressed that he did not want to pursue what he perceived to be CHS Dan’s desire to kidnap or




1
 Throughout this four-month time-period informants and agents observed Fox regularly smoking
marijuana. They were aware of Fox’s chronic marijuana use throughout the months of activity.
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harm the Governor of Michigan and he did not want to purchase or take possession of any

explosives for any reason, stating at times that they needed to “Back off that Plan” and “Ixnay the

Planeek” Further facts will be advanced at Trial.

                                              LAW

       A. A criminal conspiracy requires a tangible agreement to accomplish a plan
       or scheme between fellow conspirators.

       In Yates v. United States, the Supreme Court explained that a “project still resting solely in

the minds of conspirators” was insufficient to support a conviction for conspiracy. 354 U.S. 298,

334, 77 S. Ct. 1064, 1085 (1957). A criminal conspiracy requires an agreement to a specific plan

or scheme which represents how the underlying criminal venture will be accomplished. The

government alleges not only an agreement to kidnap the sitting Governor of Michigan, but also an

agreement to use a weapon of mass destruction to accomplish that scheme. Defendant Adam Fox

states that while there was much talk, there was never an agreed plan or scheme to accomplish

either charged offense.

       …conspiracy requires a specific plan. See Pinkerton v. United States, 145 F.2d
       252, 254 (5th Cir. 1944) (holding that a criminal conspiracy requires (1) an object
       to be accomplished; (2) a plan or scheme embodying means to accomplish that
       object; (3) an agreement by two or more defendants to accomplish the object; and
       (4) an overt act, where applicable).

United States v. Stone, 2012 U.S. Dist. LEXIS 41434, *5 (6th Cir.)

       The unlawful combination being the gist of the conspiracy, it follows that there
       must be an agreement of some kind willingly entered into by the parties to it. There
       must be unity of design or purpose, a concert of will and endeavor, comprising
       what has been agreed to.

United States v. Bostic, 480 F.2d 965, 968, 1973 (6th Cir.) (emphasis added) It is entirely unclear

what “the plan” was here, and to the extent that anything that can be identified as a plan, there is

no evidence that Adam Fox, or any of the defendants, agreed to go along with it.



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       B. A criminal conspiracy cannot exist between federal informants and agents
       and the alleged conspirator.

       Defendant Adam Fox denies having ever entered into a conspiratorial agreement. However,

it is important to note that it is well established under Federal law and in the Sixth Circuit that one

cannot have a conspiracy with a government informer or undercover agent. The overwhelming

majority of the evidence produced against Adam Fox consists of him speaking to or

communicating by text with undercover informants and undercover FBI agents. These

communications cannot form the basis of a criminal conspiracy. In a traditional “wheel”

conspiracy, individuals otherwise unknown to one another may be connected in a conspiracy based

on their dealing and association with one or two central individuals, but under the law, those

individuals cannot be government informants or agents.

       Moreover, proof of an agreement between a defendant and a government agent or
       informer will not support a conspiracy conviction. United States v. Pennell, 737
       F.2d 521, 536, 1984 (6th Cir.) (Citations Omitted)

Acting under the direct supervision of FBI Special Agents CHS Robeson, CHS Dan, CHS Jenny

and Government undercover agents were the binding force and catalyst for every event,

impassioned speech, and nearly every suggestion of criminality. They spent eight months actively

“surveilling”, communicating with, directing, and “commanding” the defendants. CHS Dan as the

XO of the Wolverine Watchmen and CHS Robeson and CHS Jenny as “National Board Members”

of the Patriot III% Militia of the United States. They collectively steered the Wolverine Watchmen,

then Adam Fox, and then Barry Croft all the way from Delaware. Like music producers seeking

out young, talented, musicians that can be combined into a money-making act, each of these

defendants was selected and groomed by the government’s agents and informants for their role as

member of this “conspiracy”.




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       C. An overt act can only take place after there is a conspiratorial agreement,
       not before.

       The Government alleges in the Superseding Indictment that the conspiratorial conduct in

question took place on dates ranging from May 1, 2020, until October 7, 2020. Defendant Adam

Fox states that on May 1, 2020, he had never met any of his alleged co-conspirators much less

made any conspiratorial agreements with them. This is a significant point, as it is a legal

impossibility to have an overt act in furtherance of a conspiracy prior to the formation of a

conspiratorial agreement.

       The relationship between the overt act requirement and the elements of a
       general conspiracy was further addressed in Yates v. United States, where the
       Supreme        Court      explained,       "the      function    of     the overt act in
       a conspiracy prosecution is simply to manifest 'that the conspiracy is at work,' . .
       . and is neither a project still resting solely in the minds of conspirators nor a fully
       completed operation no longer in existence." 354 U.S. 298, 334, 77 S. Ct. 1064,
       1085, 1 L. Ed. 2d 1356 (1957)

When the government alleges “overt acts” that occur months before Adam Fox had even met any

of the agents, informants, or individuals involved in the alleged conspiracy, the Governments

offering proof of such an act cannot, as a matter of law, be a legitimate basis for finding an overt

act in furtherance of a conspiracy, because the conspiracy could never have existed on that date.

Defendant Adam Fox raises as a legal defense that an Overt Act cannot take place before an

established criminal agreement, and that the Government must prove beyond a reasonable doubt

that a criminal agreement to a specific plan or scheme was reached prior to claiming an overt act

in furtherance of that agreement.

       D. Adam Fox lacked the predisposition to commit a kidnapping or use a
       weapon of mass destruction and his participation was induced by persistent
       and repeated pressure and manipulation by government informants.

       It is very well settled that a criminal defendant may advance the defense of entrapment

along with other affirmative defenses. Mathews v. United States, 485 U.S. 58, 70, (1988). In the

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Sixth Circuit, a defendant seeking to advance entrapment as a defense must proffer some evidence

that he lacked the predisposition to commit the offense. A defendant must also proffer some

evidence that the Government induced him to commit the offense. See United States v. Ambrose,

483 F.2d 742, 753 1973 (6th Cir.) The present case is not typical, and defendant Adam Fox can

meet the demand of showing sufficient evidence that he lacked the predisposition to commit any

crime like kidnapping or use of a weapon of mass destructions and the Government surpassed all

tolerated norms and limitations in its attempt to press Fox and his co-defendants into this alleged

conspiracy.

       An entrapment defense consists of two elements: government inducement of the
       crime, and a lack of predisposition on the part of a defendant to engage in the
       criminal conduct. The defendant cannot simply assert an entrapment defense,
       however, without also presenting some evidence. On the issue of predisposition,
       the defendant must assert evidence sufficient at least to put the issue in dispute. At
       that point, the burden shifts to the government to prove
       the defendant's predisposition beyond a reasonable doubt.

United States v. Jones, 575 F.2d 81, 83, 1978 (6th Cir). The precise weight of the burden on the

defendant to produce evidence that he lacked the predisposition to commit the crimes he is charged

with, and that the Government induced him to act is with is not entirely well defined. The Sixth

Circuit has repeatedly held that a defendant is entitled to an entrapment instruction whenever there

is “sufficient evidence” from which a reasonable jury could find entrapment. United States v.

Khalil, 279 F.3d 358, 361, 2002 (6th Cir) The defendant is required to show some evidence as to

each of the two factors, predisposition and inducement. The defendant must provide enough

evidence to support both elements of entrapment to receive an entrapment instruction. United

States v. Demmler, 655 F.3d 451, 457, 2011 (6th Cir.) The basic legal standards regarding the

evaluation of predisposition are as follows. The Sixth Circuit provides a list of five factors as a

guideline for determining the defendant’s predisposition. Specifically:



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       The Sixth Circuit has established clear standards to help guide a Court through its
       analysis of the evidence relating to predisposition. First, in the court emphasized
       that the Government must prove predisposition at the time of the initial contact
       between the Government and the Defendant, rather than at the time the offense is
       actually committed. Second in the court listed a number of factors relevant to
       determining predisposition which include: the character or reputation of the
       defendant, including any prior criminal record; whether the suggestion of the
       criminal activity was initially made by the Government; whether the defendant was
       engaged in criminal activity for profit; whether the defendant evidenced reluctance
       to commit the offense, overcome only by repeated Government inducement, or
       persuasion; and the nature of the inducement or persuasion supplied by the
       Government.

United States v. Knight, 604 F. Supp. 984, 987(6th Circuit) . As the court noted in its Opinion and

Order dated 1/25/22 the 6th Circuit Pattern Jury Instruction now includes a sixth factor, whether

the defendant has ever taken part in any similar criminal activity, with anyone else, before or after.

       The Court should note that the fifth factor to be considered with respect to predisposition

is, specifically, the nature of the Government’s inducement. The respective levels of predisposition

and inducement are often directly related to one another.

       As the Eighth Circuit has explained, "[t]he two inquiries are often closely linked,
       because the need for greater inducement may suggest that the defendant was not
       predisposed to commit the crime; and conversely, a ready response to minimal
       inducement indicates criminal predisposition.". Here, for example, if the
       government had to go to such extreme lengths to persuade White, the jury may have
       been more likely to conclude that White was not predisposed
       to committing the crime Id at 32-33

The Sixth Circuit in United States v. White, 815 Fed. Appx. 27, 29-30, 2020 (6th Cir) explained

that improper inducement occurs when the Government repeatedly and persistently solicits a

person to commit a crime. Inducement consists of an opportunity but also an additional “plus”

factor such as excessive pressure by the government or the government's taking advantage of an

alternative, non-criminal type of motive. Courts look to whether the government overcame the

will of a reluctant, otherwise law-abiding person. United States v. Martin, 780 Fed. Appx. 248,

249, 2019 (6th Cir.)

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       After the Defendant has shown some evidence of lack of predisposition and some evidence

of inducement, the burden shifts to the Government to show that the Defendant held the

predisposition to commit the crimes charged before Government agents approached the defendant.

However, the law in the Sixth Circuit is clear, predisposition is not a generalized inclination.

       As the Court explained, "evidence that merely indicates a generic inclination to act
       within a broad range, not all of which is criminal, is of little probative value in
       establishing predisposition."

United States v. Hood, 811 Fed. Appx. 291, 297, 2020 (6th Cir.) Evidence of predisposition must

be conduct near enough to the conduct alleged that it reasonably supports the inference that the

defendant was predisposed to engage in that particular conduct. United States v. Wilson, 653 Fed.

Appx. 433, 438-439, 2016 (6th Cir).

       Predisposition to commit a crime occurs when a defendant was ready and willing
       to commit the charged crime and likely would have committed it without the
       government's intervention, or actively wanted to but hadn't yet found the means

United States v. Hamzeh, 986 F.3d 1048, 1050, 2021 (7th Cir.) Posting memes of the Governor

on Facebook, calling her a “Tyrant Bitch”, or proposing a citizen’s arrest of the Governor, are not

evidence of the predisposition to commit a kidnapping or to use a weapon of mass destruction.

        In the case of Adam Fox, it is both repeated and persistent pressure and the manipulation

of friendship and “patriotism” that are the driving force behind his participation. In addition, the

CHS’s manipulated and capitalized on the unusual circumstance of the pandemic, the shutdown of

businesses, social unrest and rioting.

                                          CONCLUSION

       Adam Fox did not reach any tangible, credible, agreement to accomplish either the

kidnapping of the Governor of Michigan, nor the use of a weapon of mass destruction in the

process of that kidnapping. In addition, to the extent that Adam Fox did ever entertain such



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dialogue, he was constantly in the presence of, encouraged, pressured, or otherwise controlled by

an informant or undercover employee of the FBI. In addition, the government has alleged “overt

acts” that exist before, or independent of, any possible agreement to act. An overt act must take

place after an agreement to commit a criminal act and must manifest the that the conspiracy is “at

work”. Last, defendant Adam Fox did not have the predisposition to commit a kidnapping or use

a weapon of mass destruction and to the extent he participated in the activities alleged, he was

directly and repeatedly pressured to do so by the informants involved.

       In closing, the Court is advised that the Adam Fox will be seeking the application of the

Entrapment jury instruction at trial.


                                             Respectfully submitted,


Date: February 17, 2022                      By:   /s/ Christopher Gibbons
                                               Christopher Gibbons
                                               Attorney for Defendant Fox




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